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                            IN THE UNITED STATE DISTRICT COURT
                                  DISTRICT OF MINNESOTA

                                     RE-SENTENCING

 UNITED STATES OF AMERICA,                )          COURT MINUTES-CRIMINAL
                                          )
            Plaintiff,                    )    Case No: 12cr26(1) (JRT/JSM)
                                          )    Date:      February 24, 2020
 v.                                       )    Court Reporter: Kristine Mousseau
                                          )    Courthouse:     Minneapolis
 WAKINYAN WAKAN MCARTHUR,                 )    Courtroom:       15
                                          )    Time Commenced: 2:48 p.m.
            Defendant.                    )    Time Concluded: 3:58 p.m.
                                          )    Time in Court: 1 Hour & 10 Minutes
                                          )

Before John R. Tunheim, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

For Plaintiff: Andrew Winter, Bradley Endicott, Assistant U.S. Attorneys
For Defendant:      Frederick Goetz     ☐ FPD X CJA ☐ Retained ☐ Appointed

X Re-Sentencing.

IT IS HEREBY ORDERED that:

Defendant is sentenced to: 240 months on Counts 1 and 8 and 420 months on Count 7,
all terms to run concurrently.
Supervised Release Term: 3 years on Counts 1 and 8 and 5 years on Count 7, all terms
to run concurrently.

X Special conditions of :

              See J&C for special conditions

X Defendant sentenced to pay:
             X Special assessment in the amount of $300.00 to be paid immediately.
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X Count 2 of the superseding indictment in 12cr26(1) JRT/JSM is dismissed as to this
defendant only.

X Defendant remanded to the custody of the U.S. Marshal.

Sealed Matters: Docket No. 1965 shall remain sealed until 02/24/2040.

                                                      s/Heather Arent-Zachary
                                                      Courtroom Deputy
